                          ON REHEARING.                        February 1, 1922.
Without disagreement as to the correctness of any principle of law in its original opinion, but because of a conclusion that the facts in evidence did not demand the submission of the presumption of law referred to in Article 1106, Vernon's P.C., this court granted the State's motion for rehearing and affirmed this case. We have had our attention called by appellant's motion for rehearing to what he contends are our erroneous conclusions regarding the facts, but a review of same fails to lead us to believe that our said conclusion of facts was erroneous. Being still of the opinion that every legal right due him under the law applicable to the facts, was *Page 660 
given this appellant upon his trial by the court below; and being in any event forbidden to reverse cases for errors or omissions in the matter of charges which we do not believe to have been of any possible injury to him (Art. 743, Vernon's C.C.P.), we must overrule appellant's motion for rehearing.
Overruled.